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                                   8                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  12   CITY OF OAKLAND, a Municipal
Northern District of California
 United States District Court




                                       Corporation, and THE PEOPLE OF THE
                                  13   STATE OF CALIFORNIA, acting by and                  No. C 17-06011 WHA
                                       through Oakland City Attorney BARBARA               No. C 17-06012 WHA
                                  14   J. PARKER,
                                  15                  Plaintiffs,

                                  16           v.                                          ORDER RE STATUS CONFERENCE

                                  17   BP P.L.C., a public limited company of
                                       England and Wales, CHEVRON
                                  18   CORPORATION, a Delaware corporation,
                                       CONOCOPHILLIPS COMPANY, a
                                  19   Delaware corporation, EXXON MOBIL
                                       CORPORATION, a New Jersey
                                  20   corporation, ROYAL DUTCH SHELL PLC,
                                       a public limited company of England and
                                  21   Wales, and DOES 1 through 10,
                                  22                  Defendants.

                                  23
                                       AND RELATED CASE.
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                                  26        The unopposed motion to vacate the status conference set for March 23, 2023, is
                                  27   GRANTED. The status conference will be rescheduled for a date after our court of appeals
                                  28   renders an opinion. The parties shall please promptly notify the Court after the opinion issues.
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                                   1        The status conference set for March 23, 2023, is VACATED and CONTINUED.

                                   2       IT IS SO ORDERED.

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                                   4   Dated: March 14, 2023.

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                                                                                        WILLIAM ALSUP
                                   7                                                    UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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